         Case 4:19-cv-00041 Document 1 Filed in TXSD on 01/06/19 Page 1 of 12



                                  UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION


    Tyler Saltzman and Nathaniel Morse, Individually       Case No. 4:19-cv-41
    and for Others Similarly Situated,

    versus                                                 Jury Trial Demanded

    Von Energy Services, LLC and
    Von Directional Services, LLC



                                            COMPLAINT


             1.   VON Energy Services, LLC and VON Directional Services, LLC (collectively, VON)

employ drilling workers known as MWD Operators and Directional Drillers to perform directional

drilling work.

             2.   Many of these drilling workers (including Tyler Saltzman1 and Nathaniel Baylen

Morse) are “staffed” to VON by third-party entities. Although VON classifies these staffed workers

as independent contractors, they are in fact employees under the Fair Labor Standards Act (FLSA).

             3.   Saltzman, Morse, and the other drilling workers staffed to, and employed by, VON

regularly work more than 40 hours a week. But VON does not pay them overtime.

             4.   Instead, VON pays them a daily-rate with no overtime compensation.

             5.   This violates the FLSA. See 29 C.F.R. § 778.112.

             6.   Saltzman and Morse bring this collective action to recover the unpaid overtime wages

and other damages owed to themselves and other drilling workers like them.


1
       Saltzman originally filed his claim in See Saltzman v. VON Energy, Case No. 4:18-cv-2883
(S.D. Tex) (Hughes, J.). VON was properly served, but failed to answer. Saltzman later dismissed his
claim without prejudice. Judge Hughes directed Saltzman’s case be assigned to him if refiled. Id. at
ECF No. 10. Saltzman requests this matter be assigned to Judge Hughes.
      Case 4:19-cv-00041 Document 1 Filed in TXSD on 01/06/19 Page 2 of 12



                                    JURISDICTION AND VENUE

       7.      This Court has original subject matter jurisdiction pursuant to 28 U.S.C. § 1331

because this action involves a federal question under the FLSA. 29 U.S.C. § 216(b).

       8.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because: (a) VON conducts

substantial business operations in this District and Division; and (b) VON maintains its corporate

headquarters in this District and Division.

                                              PARTIES

       9.      Saltzman was an MWD Operator employed by VON from approximately February

2016 until May 2017. His written consent is attached.

       10.     Morse worked for VON as both an MWD Operator and a Directional Driller between

2016 and 2018. His written consent is attached.

       11.     Although VON classified them as independent contractors, Saltzman and Morse were

in fact VON’s employees.

       12.     Through their employment, VON paid a day-rate for the work Saltzman and Morse

performed. It did not pay overtime for hours they worked in excess of 40 in a week.

       13.     Saltzman and Morse bring this action on behalf of themselves and the other drilling

workers (specifically, MWD Operators and Directional Drillers) who worked for, or on behalf of,

VON while being classified as independent contractors.

       14.     VON paid a day rate for the drilling workers’ work. Despite suffering or permitting

them to work overtime hours, VON did not pay the drilling workers overtime.

       15.     VON Energy Services, LLC, is a Texas limited liability corporation and may be

served by serving its registered agent for service of process, Mark A. Padon, at 1980 Post Oak Blvd.,

24th Floor, Houston, Texas 77056, or wherever he may be found.




                                                  2
      Case 4:19-cv-00041 Document 1 Filed in TXSD on 01/06/19 Page 3 of 12



       16.     VON Directional Services, LLC, is a Texas limited liability corporation and may be

served by serving its registered agent for service of process, Mark A. Padon, at 1980 Post Oak Blvd.,

24th Floor, Houston, Texas 77056, or wherever he may be found.

                                          FLSA COVERAGE

       17.     At all relevant times, VON Energy and VON Directional have been employers within

the meaning of the Section 3(d) of the FLSA, 29 U.S.C. § 203(d).

       18.     At all relevant times, VON Energy and VON Directional have been part of an

enterprise within the meaning of Section 3(r) of the FLSA, 29 U.S.C. § 203(r).

       19.     At all times hereinafter mentioned, VON Energy and VON Directional have been

part of an enterprise engaged in commerce or in the production of goods for commerce within the

meaning of Section 3(s)(1) of the FLSA, 29 U.S.C. § 203(s)(1).

       20.     VON Energy and VON Directional have had employees engaged in commerce or in

the production of goods for commerce, or employees handling, selling, or otherwise working on goods

or materials that have been moved in or were produced for commerce, such as oilfield equipment,

MWD tools, cables, wrenches, screwdrivers, computers, automobiles, and cell phones.

       21.     VON Energy and VON Directional have each had an annual gross volume of sales

made or business done in excess of $1,000,000.00 for each of the past 3 years.

       22.     The drilling workers (including Saltzman and Morse) were engaged in commerce or in

the production of goods for commerce.

       23.     VON treated Saltzman, Morse, and the other drilling workers like them as employees.

       24.     VON uniformly paid a day-rate for the work performed by the drilling workers like

(and including) Saltzman and Morse.

       25.     VON’s misclassification of the drilling workers as independent contractors does not

alter their status as employees for purposes of this FLSA collective action.

                                                   3
        Case 4:19-cv-00041 Document 1 Filed in TXSD on 01/06/19 Page 4 of 12



                                                    FACTS

         26.     VON is an oil and gas service company providing oilfield personnel (MWD Operators

and Directional Drillers) and related equipment to oil and gas exploration companies.2

         27.     In order to provide its core services, VON retains drilling workers (MWD Operators

and Directional Drillers) to perform services on its behalf.

         28.     VON often contracts with third-party entities to provide it with oilfield personnel to

work for, or on its behalf. This includes drilling workers who, like Saltzman and Morse, work as MWD

Operators and Directional Drillers.

         29.     VON and the third-party entities who staffed oilfield personnel to VON to work for,

or on its behalf, jointly determine and share control over the terms and conditions of the drilling

workers’ employment.

         30.     VON and the third-party entities who staffed oilfield personnel to VON to work for,

or on its behalf, jointly hired and fired, supervised and controlled, set pay, determined hours, and

approved time sheets with respect to these workers.

         31.     VON is an employer, and/or a joint employer, of the oilfield personnel staffed to it

by the third-party entities.

         32.     Even if their job titles and precise job duties differed somewhat, VON subjected all

the drilling workers to this similar, illegal, pay practice.

         33.     Specifically, VON classified Saltzman, Morse, and the other drilling workers as

independent contractors and paid a flat sum for each day they worked, regardless of the number of

hours that they worked that day (or in that workweek).




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    https://vonenergy.com/?SA

                                                       4
      Case 4:19-cv-00041 Document 1 Filed in TXSD on 01/06/19 Page 5 of 12



       34.     VON uniformly failed to pay the drilling workers overtime for the overtime hours they

worked.

       35.     For example, from approximately February 2016 until May 2017, Saltzman worked

exclusively for VON as an MWD Operator. Morse worked exclusively for VON as an MWD Operator

and Directional Driller between 2016 and 2018.

       36.     Throughout their employment, VON classified Saltzman and Morse as independent

contractors and paid them on a day-rate basis.

       37.        VON directed Saltzman and Morse to work 12 (or more) hours a day for as many

as 7 days in a week.

       38.        Saltzman and Morse worked well in excess of 40 hours each week while employed

by VON, often for weeks at time.

       39.     The work Saltzman and Morse performed was an essential part of VON’s core

business.

       40.     During their employment with VON, VON classified Saltzman and Morse as

independent contractors but exercised control over all aspects of their jobs.

       41.     The daily and weekly activities of the drilling workers (including Saltzman and Morse)

were routine and largely governed by standardized plans, procedures, and checklists imposed on the

drilling workers by VON.

       42.     Virtually every job function was pre-determined by VON, including the tools and

equipment to use at a job site, the data to compile, the schedule of work, and related work duties.

       43.     The drilling workers were prohibited from varying their job duties outside of the pre-

determined parameters and were required to follow VON’s policies, procedures, and directives.

       44.     VON exercised control over the hours and locations they worked, the tools and

equipment they used, and rates of pay they received.

                                                  5
      Case 4:19-cv-00041 Document 1 Filed in TXSD on 01/06/19 Page 6 of 12



          45.   Even when Saltzman and Morse worked away from VON’s offices without the

presence of a direct supervisor, VON still controlled significant aspects of Plaintiffs’ job activities by

enforcing mandatory compliance with its policies and procedures.

          46.   VON set Saltzman’s and Morse’s rates of pay, their work schedule, and effectively

prevented (or outright prohibited) them from working other jobs for other companies while they were

working on jobs for VON.

          47.   VON did not require any substantial investment by Saltzman or Morse for them to

perform the work required of them.

          48.   Saltzman’s and Morse’s earnings were based on the number of days VON scheduled

them to work.

          49.   VON controlled Saltzman’s and Morse’s opportunity for profit and loss by dictating

the days they worked and the rates they were paid.

          50.   Saltzman and Morse were not required to possess any unique or specialized skillset

(other than that maintained by all other workers in their respective positions) to perform their job

duties.

          51.   VON provided the costly equipment Saltzman and Morse used to perform their jobs.

          52.   Saltzman and Morse did not provide the equipment they used on a daily basis.

          53.   VON or the operator made the large capital investments in buildings, machines,

equipment, tools, and supplies necessary to perform VON’s drilling services.

          54.   Plaintiffs were not employed by VON on a project-by-project basis.

          55.   In fact, while Plaintiffs were classified as independent contractors, they were regularly

on call for VON and were expected to drop everything and work whenever needed.

          56.   All the drilling workers working for, or on behalf of VON, perform similar job duties

and are subjected to the same or similar policies that dictate their day-to-day activities.

                                                    6
         Case 4:19-cv-00041 Document 1 Filed in TXSD on 01/06/19 Page 7 of 12



          57.   All the drilling workers who VON classified as independent contractors worked

similar hours and were denied overtime by the same illegal pay practice, regardless of the third-party

entity they were staffed through.

          58.   All the drilling workers who VON classified as independent contractors worked in

excess of 40 hours a week. They were often scheduled to work daily 12-hour shifts, for weeks at a

time, regardless of the third-party entity they were staffed through.

          59.   VON paid Saltzman, Morse, and the other drilling workers like them a day-rate and

misclassified them as independent contractors.

          60.   VON failed to pay Saltzman, Morse, and the other drilling workers like them Plaintiffs

overtime for hours worked in excess of 40 hours in a single workweek.

          61.   Saltzman, Morse, and the other drilling workers like them were not paid on a salary

basis.

          62.   They never received any guaranteed weekly compensation from VON irrespective of

days worked. Instead, their compensation was expressly based on the number of days worked.

          63.   VON’s policy of classifying its drilling workers as independent contractors and failing

to pay them overtime, violates the FLSA because these workers are, for all purposes, non-exempt

employees.

          64.   VON’s day-rate system violates the FLSA because Plaintiffs and the other MWD

Operators and Directional Drillers like them did not receive any overtime pay for hours worked over

40 hours each week.

          65.   Saltzman, Morse, and the other drilling workers like them should receive overtime for

all hours worked over 40 in a workweek.




                                                   7
      Case 4:19-cv-00041 Document 1 Filed in TXSD on 01/06/19 Page 8 of 12



                                             CAUSE OF ACTION

           66.    VON violated the FLSA employing its drilling workers employees for workweeks

longer than 40 hours without paying them overtime.

           67.    VON knew, or recklessly disregarded the possibility, that its practice of failing to pay

day-rate workers overtime violated the FLSA.

           68.    VON did not investigate its potential liability under the FLSA prior to the filing of this

lawsuit.

           69.    VON’s decision not to pay its drilling workers overtime was not made in good faith.

           70.    Saltzman, Morse, and the other drilling workers are entitled to overtime wages under

the FLSA in an amount equal to 1 and ½ times their rate of pay, plus liquidated damages, attorney’s

fees and costs.

                                  COLLECTIVE ACTION ALLEGATIONS

           71.    The illegal pay practice imposed on Saltzman and Morse was also imposed on the

other drilling workers.

           72.    Saltzman and Morse worked with other drilling workers who were: (1) improperly

classified as independent contractors; (2) paid in the same manner; (3) performed similar drilling work;

(4) worked similar hours; and (5) did not receive overtime pay.

           73.    Saltzman and Morse know from their own experiences that VON imposed the

practices they challenge on other drilling workers.

           74.    Saltzman, Morse, and the other drilling workers were improperly classified as

independent contractors and were not paid overtime as required by federal law.

           75.    Saltzman’s and Morse’s experiences are typical of the other drilling workers.

           76.    A collective action, such as the instant one, is superior to other available means for fair

and efficient adjudication of the lawsuit.

                                                      8
      Case 4:19-cv-00041 Document 1 Filed in TXSD on 01/06/19 Page 9 of 12



       77.     Concentrating the litigation in one forum will promote judicial economy and parity

among the claims of individual members of the Putative Class and provide for judicial consistency.

                                               JURY DEMAND

       78.     Saltzman and Morse demand a trial by jury on all issues so triable.

                                          RELIEF SOUGHT

       79.     Saltzman and Morse seek the following relief:

               a. An order allowing this action to proceed as a collective action under the FLSA and

                   directing notice to all the other drilling workers;

               b. A judgment finding VON liable to Saltzman, Morse, and the other drilling workers

                   for unpaid overtime and an equal amount as liquidated damages;

               c. An order awarding attorneys’ fees, costs, expenses, and judgment interest; and

               d. An award of such other and further relief as may be necessary and appropriate.

                                                        Respectfully submitted,

                                                        BRUCKNER BURCH PLLC

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                                                   9
Case 4:19-cv-00041 Document 1 Filed in TXSD on 01/06/19 Page 10 of 12



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                                 10
Case 4:19-cv-00041 Document 1 Filed in TXSD on 01/06/19 Page 11 of 12
Case 4:19-cv-00041 Document 1 Filed in TXSD on 01/06/19 Page 12 of 12
